         Case 2:17-cr-00209-SMJ          ECF No. 128       filed 02/11/20    PageID.767 Page 1 of 2

                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON

 UNITED STATES OF AMERICA,                                        Case No.   2:17-CR-00209-SMJ
                                                                  CRIMINAL MINUTES
                                       Plaintiff,                 DATE:     FEBRUARY 11, 2020
        -vs-
                                                                  LOCATION: SPOKANE
 JUAN VAZQUEZ GONZALEZ,
                                       Defendant.                 SENTENCING HEARING

                                       Hon. Salvador Mendoza, Jr.
         Debbie Brasel                                   01                               Ronelle Corbey

      Courtroom Deputy                               Law Clerk                            Court Reporter
                 David Michael Herzog                                        Andrea K. George
                 Government Counsel                                         Defendant's Counsel
 United States Probation Officer: Danyelle R. Storms

       [ XX ] Open Court                      [     ] Chambers                      [   ] Telecon
Defendant is present and is not in custody of the US Marshal
The Court rules on and accepts the Pre-Sentence Report

Argument by counsel

Defendant’s father-in-law addresses Court on behalf of the defendant

Co-worker of defendant addresses Court on behalf of the defendant

Defendant’s wife addresses Court on behalf of the defendant

Defendant addresses Court on his own behalf

Imprisonment:                                          60 months with respect to the single count Information
                                                       Superseding Indictment. Defendant is taken into custody
                                                       of the US Marshal at this time to begin the term of
                                                       imprisonment

Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

Court will recommend placement of the defendant in the BOP Facility at Sheridan, Oregon.

Supervised Release:                                    10 years with mandatory conditions, standard conditions,
                                                       and the following special condition:

[XX] ORDER FORTHCOMING

 CONVENED: 11:00 A.M.           ADJOURNED: 12:55 P.M.            TIME: 1:55 HR.          CALENDARED        [ N/A ]
         Case 2:17-cr-00209-SMJ         ECF No. 128       filed 02/11/20    PageID.768 Page 2 of 2
USA -vs- Gonzalez                                                                          February 11, 2020
2:17-CR-0209-SMJ-01                                                                        Page 2
Sentencing Hearing

You are prohibited from returning to the United States without advance legal permission from the United States
Attorney General or his designee. Should you reenter the United States, you are required to report to the
probation office within 72 hours of reentry.

Special Penalty Assessment:                  $100.00
Fine:                                        waived
Restitution:                                 N/A

Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of
incarceration, monetary penalties are payable on a quarterly basis of not less than $25.00 per quarter.

While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per
month or 10% of the defendant's net household income, whichever is less, commencing 30 days after the
defendant is released from imprisonment.
Government moves to dismiss all remaining counts
Court: granted

Appeal rights waived pursuant to the Plea Agreement previously executed by the defendant and filed with the
Court.
Final Order of Forfeiture signed and filed. Defendant agrees to forfeit the following property:
1.     One black HTC cellular telephone, model number 2PYB2
